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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION

In re:                                               )       Chapter 7
Robert B. Norland,                                   )
Kimberly L. Norland                                  )       Case No.       17-10785-SDB
       Debtors,                                      )
_________________________________________            )
                                                     )
Joseph E. Mitchell, III, Chapter 7 Trustee           )
For Robert B. Norland & Kimberly L. Norland          )       Adv Pro. No. 18-______________
       Plaintiff,                                    )
v.                                                   )
Brickyard Holdings, LLC                              )
       Defendant.                                    )
                                                     )

                                         COMPLAINT

       NOW COMES, Plaintiff Joseph E. Mitchell, III, as Chapter 7 Trustee for Robert B.

Norland and Kimberly L. Norland hereby alleges against the Defendant as follows:

                               BACKGROUND AND PARTIES

   1. Robert B. Norland and Kimberly L. Norland (“Norland”) are individuals and

       residents of the State of Georgia, residing within the Southern District of

       Georgia.

   2. Robert B. Norland and Kimberly L. Norland filed a voluntary petition under

       Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) on

       May 31, 2017, in the United States Bankruptcy Court for the Southern District

       of Georgia (the “Bankruptcy Court”), Case No. 17-10785-SDB (the

       “Bankruptcy”).

   3. The Bankruptcy Court entered the Order for Relief.

   4. Plaintiff, Joseph E. Mitchell, III, (“Trustee”), is the duly qualified and acting

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      Chapter 7 Trustee in this case, in which capacity he brings this action.

   5. The Defendant is Brickyard holdings, LLC (“Brickyard Holdings”), a Georgia

      limited liability company and is subject to the jurisdiction of this Court.

      Defendant can be served by delivering a copy of the Summons and Complaint

      to its registered agent for service of process, Scott Seymour, at 7401 Graham

      Road, Fairburn, Fulton County, Georgia, 30213.

   6. Defendant has submitted itself to the jurisdiction of the courts of Georgia

      pursuant to the terms of the Promissory Note (further described herein), which

      is the subject of this action.

                               JURISDICTION AND VENUE

   7. This is an adversary proceeding pursuant to Fed. R. Bankr. P. 7001.

   8. This adversary proceeding arises under Case No. 17-10785-SDB.

   9. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1334 and 157. Venue is proper

      pursuant to 28 U.S.C. §§ 1408 and 1409.

   10. This is a core proceeding by virtue of 28 U.S.C. § 157(b).

   11. Plaintiff consents to the entry of final order or judgment by the Bankruptcy Court.

                                         CAUSE OF ACTION

   12. Plaintiff repeats and incorporates by this reference the allegations in the above paragraphs

      as if set forth verbatim herein.

   13. On or about December 16, 2015, Brickyard Holdings executed and delivered to Robert B.

      Norland a promissory note, a copy of which is attached hereto as Exhibit A (“the Note”).

   14. The Note obligates Brickyard Holdings, LLC, to pay Robert B. Norland the sum of


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      $145,000.00 by December 31, 2016, “the Maturity Date.” Specifically, the Note

      obligates Brickyard Holdings to make monthly payments of $4,000.00 to Robert B.

      Norland beginning January 1, 2016. The Note also states that the “full remaining balance

      of principal and interest accrued under this Note shall be paid in full to Lender [Norland]

      prior to or upon the Maturity Date.” (Note, p. 1.)

   15. The Note contains a “DEFAULT RATE” provision, which states that in the event of a

      default, “all outstanding Obligations between [Brickyard Holdings] and [Robert B.

      Norland] or its affiliates, shall bear interest at the rate of 16.00% per annum based on the

      365/360 Computation (“Default Rate”). (Note, p. 1.)

   16. The Note imposes a late charge of either 10% “of the unpaid portion of the regularly

      scheduled payment or $100.00, whichever is greater,” if any payment is more than ten

      days late. The late charge is “intended as liquidated damages in lieu of actual damages

      and not as a penalty.” (Note, p. 2.)

   17. The Note requires Brickyard Holdings to pay all of Robert B. Norland’s attorneys’ fees

      and other collection costs incurred in enforcing or collecting on the Note, including but

      not limited to in any “bankruptcy proceeding.” (Note, p. 2.)

   18. On March 26, 2018, Plaintiff’s undersigned counsel sent to Brickyard Holdings and its

      registered agent for service, Scott Seymour, via certified and regular U.S. mail the letter

      attached hereto as Exhibit B, demanding payment of the entire amount payable under the

      Note due to Brickyard Holding’s default. That letter includes the following language:


             As a result of Brickyard Holdings, LLC’s default, Mr. Norland demands the
      whole sum of the principal ($145,000.00) due under the Note, accrued interest,
      attorneys’ fees and costs, and all other amounts due under the Note.


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              Please also accept this as Robert Norland’s intent to pursue all remedies for
       Brickyard Holdings, LLC’s default. These remedies include but are not limited to
       the whole sum of the principal ($145,000.00) due under the Note, attorneys’ fees
       and costs, interest, all other remedies available under the Note, and all other
       remedies allowed by law and equity. Exhibit B.

   19. As of the filing of this adversary proceeding, Brickyard Holdings has made no payments

       on the Note. Accordingly, Brickyard Holdings has been in and remains in default under

       the Note.

   20. Plaintiff is entitled to prejudgment interest pursuant to O.C.G.A. § 7-4-15.

   21. Brickyard Holdings has defaulted on the payment of the Note and owes Plaintiff the sum

       of $145,000.00, plus prejudgment interest pursuant to O.C.G.A. § 7-4-15, late charges,

       attorneys’ fees, and other collection costs.

       WHEREFORE, Plaintiff demands judgment against Brickyard Holdings for the sum of

$145,000.00, plus interest, late charges, attorneys’ fees, and other collection costs.

       This 29th day of June.



                                                      /s/ James S.V. Weston
                                                      James S.V. Weston
                                                      State Bar No.: 780251
                                                      Attorney for Plaintiff

TROTTER JONES, LLP
3527 Walton Way Extension
Augusta, Georgia 30909-1821
Phone: (706) 737-3138
Fax: (706) 738-3973
jamie@trotterjones.com




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